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                     EXHIBIT 1
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                                                                                           EXHIBIT 1


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April 23, 2025

Russ Falconer
Gibson, Dunn & Crutcher LLP
rfalconer@gibsondunn.com

Re:    VoIP-Pal.com Inc. v. AT&T, Inc. et al, Case No. 1-24-cv-03051
       Rich Inza, et al. v. AT&T, Inc. et al, Case No. 1-24-cv-03054

Dear Mr. Falconer,

        Pursuant to your request, and by this letter, service of process in the above-referenced cases
is being effected through your office. Please find enclosed a copy of the summons issued by the
Court for each of the AT&T defendants. A copy of the Court’s standard waiver form is also
attached. Please return an executed waiver form for each of the AT&T defendants.

        Separately, set forth below are internet addresses where we have produced a copy of every
paper filed by the plaintiffs and every order issued by the court in each case.

https://www.dropbox.com/scl/fo/b6i1zf4nufmp959jb74y8/ADc1c5sqQgMbCsAjkNUhKD8?rlke
y=v5apdso52mkms6jckh5r5nfpy&st=60fivqfe&dl=0

https://www.dropbox.com/scl/fo/70rirzlxqky8ni8p9vkf7/AFgoVERfhfkkrav16CH5vH4?rlkey=hi
r2vnjh19utp05dabdim8g9p&st=w06bc6dp&dl=0

       Please contact me at (202) 329-3558 or jtpittman@hphattorneys.com with any questions,
and thank you for your efforts on this case.



                                                      Very truly yours,

                                                      Travis Pittman




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